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            EXHIBIT A
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August 8, 2022

Nicole Patrice Grant
Department of Justice
Civil Division, Office of Immigration Litigation
Ben Franklin Station, P.O. Box 878
Washington, D.C. 20044

VIA ELECTRONIC MAIL

RE: Implementing the Court’s Grant of Summary Judgment in Emami and Pars matters

Counsel,

        On August 1, 2022, the Court granted our motion for summary judgment in these related
class actions. In so doing, the Court determined that Defendants had implemented the travel ban
pursuant to former President Trump’s Presidential Proclamation No. 9645 (hereinafter, the
“Muslim Ban”) waiver provision by “promulgat[ing] unduly narrow and restrictive limitations,
and for which no rational explanations can be found in the administrative record.” The Court
determined that rescission of the Muslim Ban did not cure the Muslim Ban’s harms because
“plaintiffs have demonstrated that their visa applications were denied without the opportunity to
apply under a properly-administered waiver process, and even if permitted to reapply, they
w[ould] bear undue transactional costs, financial and otherwise, that they should not be required
to bear for a second time.” The Court made clear that Plaintiffs have established as a matter of
law “a sufficient basis . . . to obtain the totality of the relief that they are still seeking in this
case.”

       In light of the Court’s determination, the Court has directed the parties to meet and confer
regarding that total relief. Specifically, the Court has instructed the parties to discuss “the
procedures the government will use (i) to confirm that affected applicants wish to have their
applications reconsidered, as well as (ii) for those interested applicants to update their
applications in a way that is least burdensome but will still provide the government with any
necessary updates that would be material to the government’s consideration of the applications.”

       In order to facilitate the Court-directed meet-and-confer process, we provide below the
following contours of a remedy to effectuate the Court’s merits ruling.

   1. Defendants must affirmatively notify all impacted applicants of the forthcoming
      opportunity to seek reconsideration and facilitate reapplication procedures for those
      impacted applicants. Plaintiffs submit that Defendants must affirmatively provide
      personal notice to each of the 41,876 individuals whose applications were considered for
      and denied a waiver during the existence of the Muslim Ban and who have not yet been
      granted their visa. The notice must clearly advise those individuals that they are eligible
      to seek reconsideration and lay out a reasonable and efficient way to do so. Per item 3
      below, the notice should also clearly state that the reconsideration process will be at no
      cost to the applicant. While we believe that this process can be conducted with little
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       burden (because the U.S. Department of State routinely communicates with visa
       applicants via the Consular Electronic Application Center), we are open to considering
       other methods of notification. In addition to providing individualized notice, the
       Department of State should post prominently on its website notice of the opportunity and
       means through which to seek reconsideration. For individuals represented by counsel,
       Defendants should ensure that all notices are also sent to counsel. Plaintiffs stand ready
       to assist in the public education effort once a process exists.

   2. Defendants must promptly establish a reconsideration process. Defendants should
      promptly identify – and post to the Department of State’s website – those updates that
      Defendants anticipate requiring from the impacted applicants. Consistent with the
      Court’s order, Defendants should ensure that those updates are not tantamount to
      applying anew. So that we can assess the updates, Defendants should inform Plaintiffs’
      counsel, for each type of update, of: (1) the reason the update is required, and (2) an
      explanation of how the update is not caused by the unlawful waiver determination
      process.

   3. The reconsideration process should be at no cost to applicants. As the Court directed,
      the reconsideration process cannot impose “undue transactional costs, financial and
      otherwise,” particularly those that applicants would be “required to bear for a second
      time.” Defendants should not require that applicants attend in-person re-interviews and
      incur additional cost when reapplying.

   4. Defendants should promptly identify and implement the reconsideration process,
      with notices made and the reconsideration process operational within 4 months of
      the Court’s August 1, 2022 Order. Applicants who seek reconsideration should receive
      a decision within 60 days of submitting the required updated information. Applicants
      who were denied should have at least three years once the process is in place to seek
      reconsideration.

   5. To ensure full compliance, Defendants should provide quarterly status reports to
      Plaintiffs and the Court. These notices will include data on the number of notices
      provided, and additional steps the Department of State is taking to publicize the
      reconsideration process, as well as the number of individuals who have sought
      reconsideration and statistics on the resolution of those requests for reconsideration, and
      the names and A-Numbers of individuals eligible for reconsideration.

       Please ensure that this letter proposing how to implement the Court’s merits holding is
conveyed to your clients. Likewise, please identify times prior to the August 16 hearing at which
you are available to discuss the remedy in this matter with input from your clients.
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       Sincerely,


_/s/ Max S. Wolson__________             _/s/ Shabnam Lotfi_________
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